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                                                                           U.S. DISTRICT COUfH
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                              UNITED STATES DISTRICT COURTZ022 APR
                              FOR THE DISTRICT OF VERMONT
                                                                                    IIt Pt1 I=   s,
SURESH MURTHY,

Plaintiff,

v.
                                                          Civil Action No. 2:22-CV-00003-CR
COGNIZANT TECHNOLOGY SOLUTIONS,
U.S. CORPORATION,

Defendant.



                     STIPULATED DISCOVERY SCHEDULE/ORDER

The parties submit the following amended Discovery Schedule pursuant to Local Rule 26(a)(2):

                                         INTRODUCTION

        1.     In this case, discovery may be needed on the following subjects: All discoverable

matters pursuant to F.R.C.P. 26(b). Unless noted here to the contrary and in more detail,

discovery in this matter shall notbe conducted in phases or limited to particular, enumerated issues.

        2.     The parties have conferred about disclosure, discovery, and preservation of

electronically stored information ("ESI"). Unless noted otherwise, ESI shall be produced in the

following format(s): Readily accessible formats.

        3.     The parties have conferred about claims of privilege and claims of protection as

trial-preparation materials. The parties have agreed on the following procedure to assert these

claims after production: Privilege log with specificity to review claim. Unless specifically

requested in a filing with this court, the parties agreed procedure will not be the subject of a court

order under Federal Rule of Evidence 502.

        4. Any changes in the limitations on discovery imposed under the Federal Rules of Civil
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Procedure or the Local Rules for this District shall be specifically described below.

                                             DEADLINES
        5.      The parties shall serve initial disclosures pursuant to Fed. R. Civ. P. 26(a)(l) on or

before April 29, 2022.

        6.      The parties shall serve all interrogatories and requests for production on or before

May 16, 2022.

        7.      Depositions of all non-expert witnesses shall be completed by November 14, 2022.

        8.      Plaintiff shall submit expert witness reports on or before July 22, 2022.

Depositions of plaintiff=s expert witnesses shall be completed by September 6, 2022.

                9.       Defendant shall submit expert witness reports on or before October 7, 2022.

Depositions of defendant's expert witnesses shall be completed by November 14, 2022.

                10.      The Early Neutral Evaluation session shall be conducted on August 9, 2022.

The parties have agreed that Michael Marks will serve as the early neutral evaluator, and have

scheduled the ENE session with Mr. Marks.

                11.      The parties shall serve all requests for admission on or before October 11,

2022.

                12.      All discovery shall be completed by November 14, 2022 (no later than 8

months after filing of the Answer or Third-Party Answer).

                13.      Motions for joinder of parties and amendments to the pleadings shall be

filed on or before August 30, 2022.

                14.      Motions, including summary judgment motions but excluding motions

relating to the conduct of the trial, shall be filed on or before February 1, 2023.

                15.      This case shall be ready for trial by April 15, 2023.
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RICH CASSIDY LAW




                                                       Date: 4/1312022
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      Counsel for Plaintiff Suresh Murthy

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LITTLER MENDELSON PC


BY:   Isl Christopher B. Kaczmarek                      Date: 4/1312022
       Christopher B. Kaczmarek, Esquire
       Ellen E. Lemire, Esq.
       Counsel for Defendant Cognizant Technology Solutions

      Littler Mendelson, P.C.
      One International Place, Suite 2700
      Boston, MA 02110

APPROVED and SO ORDERED:
                                                            Isl Christina Reiss

                                                        U.S. District Judge

        411412022
Date: _ _ _ _ _ _ _ _ __
